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                                        U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                    March 19, 2018

BY ECF and BY E-MAIL

The Honorable Kimba M. Wood
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Gerald Seppala, 16 Cr. 436 (KMW)

Dear Judge Wood:

         The defendant in the above-captioned action is scheduled to be sentenced before Your
Honor on April 18, 2018. As the Court is aware, trial in the matter of Mr. Seppala’s co-defendant,
United States v. Steven Brown, 16 Cr. 436 (KMW), is scheduled to begin before on April 16, 2018
and to continue for several weeks. In light of this conflict, the Government respectfully requests
that the sentencing of Mr. Seppala be adjourned until after the completion of the trial in United
States v. Brown. The Government has conferred with counsel for Mr. Seppala, who do not object
to the adjournment. The parties respectfully request that the sentencing be rescheduled to a date
in the last week of June 2018.

                                                Respectfully submitted,

                                                GEOFFREY S. BERMAN
                                                United States Attorney
                                                Southern District of New York


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